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AO 245B (Rev, 09/19)Judgment in a Criminal Case
          Sheet 1



                                       United States District Court
                                                  District Of South Dakota, Central Division

             UNITED STATES OF AMERICA                                           JUDGMENT IN A CRIMINAL CASE
                                  V.


                                                                                Case Number:             3:19CR30047-1
                       Andrea Circle Bear
                    a/k/a Andrea High Bear                                      USM Number:              18015-273

                                                                                Jason A. Rumpca
                                                                                Defendant's Attorney

THE DEFENDANT:

■ pleaded guilty to count(s)       3 ofthe Indictment

□ pleaded nolo contendere to count(s)
    which was accepted by the Court.

□ was found guilty on count(s)
    after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                              Nature of Offense                                                 Offense Ended            Count

21 U.S.C. §§ 856(a)(1) and 856(b)            Maintaining a Drug Involved Premises                              04/30/2018                  3




The defendant is sentenced as provided in this Judgment. The sentence is imposed pursuant to the Sentencing Reform Act of 1984.
□ The defendant has been found not guilty on count(s)

■ Count(s) 1 and 2 of the Indictment                                               □ is ■ are dismissed on the motion of the United States.

It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence, or
mailing address until all fines, restitution, costs, and special assessments imposed by this Judgment are fully paid. If ordered to pay restitution,
the defendant must notify the Court and United States attorney of material changes in economic circumstances.

                                                                         01/14/2020
                                                                         Date of Imposition of Judgm^t




                                                                         Signature of Judge




                                                                         Roberto A. Lange. Chief Judge
                                                                         Name and Title of Judge




                                                                         Date
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AO 245B (Rev. 09/19)Judgment in Criminal Case
          Sheet 2 — Imprisonment


DEFENDANT:                    Andrea Circle Bear a/k/a Andrea High Bear
CASE NUMBER:                  3:19CR30047-1



                                                          IMPRISONMENT


      I     The defendant is hereby committed to the custody ofthe United States Bureau ofPrisons to be imprisoned for a total
            term of: 26 months.

      ■     The Court makes the following recommendations,to the Bureau ofPrisons:
            The defendant's history of substance abuse indicates she would be an excellent candidate for the Bureau ofPrisons' substance
            abuse treatment program. It is recommended she be allowed to participate in that program and, if successful, the term of
            incarceration be reduced accordingly.
            It is further recommended the defendant be considered for placement in a federal medical facility, given she is pregnant and due
            to deliver a child in early May of2020.



      I     The defendant is remanded to the custody ofthe United States Marshal.

      □     The defendant shall surrender to the United States Marshal for this district:
          □      at                              □     a.m.    □     p.m.     on

          □.     as notified by the United States Marshal.

      □     The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

          □      before 2 p.m. on

          □      as notified by the United States Marshal.

          □      as notified by the Probation or Pretrial Services Office.

                                                                 RETURN

Ihave executed this Judgment as follows:




          Defendant delivered on      .                                                     to

 at                                                 , with a certified copy of this Judgment.


                                                                                                    UNITED STATES MARSHAL




                                                                             By

                                                                                                 DEPUTY UNITED STATES MARSHAL
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AO 245B    (Rev. 09/19)Judgment in a Criminal Case
           Sheet 3 - Supervised Release


 DEFENDANT:                   Andrea Circle Bear a/k/a Andrea High Bear
 CASENUMBER;                  3:19CR30047-1,




                                                           SUPERVISED RELEASE

Upon release from imprisonment, you will be on supervised release for a term of: 3 years.


                                                     MANDATORY CONDITIONS

1.   You must not commit another federal, state, local, or tribal crime.
2. You must not unlawfully possess a controlled substance.
3. You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days ofrelease from
     imprisonment and at least two periodic drug tests thereafter, as determined by the Court.
           □     The above drug testing condition is suspended, based on the Court's determination that you pose a low risk of future
                 substance abuse. (Check, ifapplicable.)
4.   ■     You must cooperate in the collection of DNA as directed by the probation officer./C/iecA, ifapplicable.)
5. □       You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et seq.) as
           directed by the probation officer, the Bureau of Prisons, or any state sex offender regisfration agency in which you reside,
           work, are a student, or were convicted of a qualifying offense. (Check, if applicable.)
6. □       You must participate in an approved program for domestic violence. (Check, if applicable.)
7. □       You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other state authorizing a sentence of
           restitution. (Check, if applicable.)

You must comply with the standard conditions that have been adopted by this Court as well as with any other conditions on the attached
page.
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AO 245B (Rev. 09/19)Judgment in a Criminal Case
        Sheet 3A - Supervised Release


DEFENDANT:                   Andrea Circle Bear a/k/a Andrea High Bear
 CASENUMBER:                 3:19CR30047-1

                                        STANDARD CONDITIONS OF SUPERVISION
 As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
 because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
 officers to keep informed, report to the Court about, and bring about improvements in your conduct and condition.

 1. You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
    release fi"om imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
      frame.

 2. After initially reporting to the probation office, you will receive instructions from the Court or the'probation officer about how and
      when you must report to the probation officer, and you must report to the probation officer as instructed.
 3. You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
      Court or the probation officer.
 4. You must answer truthfully the questions asked by your probation officer.
 5. You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
    arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
    the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
      hours of becoming aware of a change or expected change.
 6. You must allow the probation officer to visit you at reasonable times, at your home or elsewhere, and you must permit the probation
      officer to take any items prohibited by the conditions of your supervision that he or she observes in plain view.
 7. You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
    doing so. If you do not have full-time employment you must try to find full-time employment,unless the probation officer excuses
    you from doing so. If you plan to change where you work or anything about your work(such as your position or your job
    responsibilities), you must notify the probation officer at least 10 days before the change. Ifnotifying the probation officer at least 10
    days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
      becoming aware ofa change or expected change.
 8. You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
      convicted of a felony, you must not knowingly communicate or interact with that person,without first getting the permission of the
      probation officer.
 9: If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
 10. You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was
      designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).
 11..You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
      first getting the permission of the Court.
 12. Ifthe probation officer determines that you pose a risk to another person(including an organization), the probation officer may require
     you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the person and
      confirm that you have notified the person about the risk.
 13. You must follow the instructions ofthe probation officer related to the conditions ofsupervision.
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AO 245B     (Rev. 09/19)Judgment in a Criminal Case
            Conditions ofSupervision


DEFENDANT:                  Andrea Circle Bear a/k/a Andrea High Bear
CASE NUMBER:                3:19CR30047-1


                                         SPECIAL CONDITIONS OF SUPERVISION

1. You must participate in the District of South Dakota's community coach/mentoring program as directed by the probation office.
2. You must reside and participate in a residential reentry center as directed by the probation office. You will be classified as a prerelease
    case.



3. You must participate in and complete a cognitive behavioral training program as directed by the probation office.
4. You must undergo inpatient/outpatient psychiatric or psychological treatment, as directed by the probation office. You must take any
    prescription medication deemed necessary by the treatment provider.

5. You must participate in a program approved by and at the direction of the probation office for treatment ofsubstance abuse.
6. You must not consume any alcoholic beverages or intoxicants. Furthermore, you must not frequent establishments whose primary
    business is the sale of alcoholic beverages.

7. You must submit a sample of your blood, breath, or bodily fluids at the discretion or upon the request ofthe probation office.




 U.S. Probation Office Use Only
 A U.S. probation officer has instructed me on the conditions specified by the Court and has provided me with a written copy ofthis Judgment
 containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised Release
 Conditions, available at: www.uscourts.gov.


 Defendant's Signature                                                                         Uate
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AO 245B (Rev. 09/19) Judgment in a Criminal Case
        Sheet 5 — Criminal Monetary Penalties

 DEFENDANT:                         Andrea Circle Bear a/k/a Andrea High Bear
 CASE NUMBER:                      3:19CR30047-1


                                             CRIMINAL MONETARY PENALTIES

       You must pay the total criminal monetary penalties under the Schedule ofPayments set below.

                     Assessment               Restitution             Fine                      AVAA Assessment* JVTA Assessment**
 TOTALS              $100                     Not applicable          Waived                    Not applicable      Not applicable


 □       The determination of restitution is deferred until
         An AmendedJudgment in a Criminal Case (AO 245C) will be entered after such determination.

 □       You must make restitution (including community restitution) to the following payees in the amount listed below.

         If you make a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in the
         priority order or percentage payment column below. However, pursuant to 18U.S.C. § 3664(i), all nonfederal victims must be paid
         before the United States is paid.

 Name of Pavee                                           Total Loss***               Restitution Ordered           Priority or Percentage




 TOTALS


 □       Restitution amount ordered pursuant to Plea Agreement S

 □       You must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
         fifteenth day after the date of the Judgment, pursuant to 18 U.S.C. § 3612(Q. All ofthe payment options on the Schedule of Payments
         may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).


 □       The Court determined that you do not have the ability to pay interest and it is ordered that:

         □       the interest requirement is waived for the      □   fine     □      restitution.

         □       the interest requirement for the    □        fine   □       restitution is modified as follows:


  *Amy, Vicky, & Andy Child Pornography Assistance Act of 2018, Pub. L. 115-299.
  **Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
  ♦♦♦Findings for the total amount of losses are required under Chapters 109A, 110,1lOA, and 113A of Title 18 for offenses committed on
  or after September 13,1994, but before April 23, 1996.
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A0245B       (Rev. 09/19)Judgment in a Criminal Case
             Sheet 6 — Schedule ofPayments


DEFENDANT:                             Andrea Circle Bear a/k/a Andrea High Bear
CASE NUMBER:                           3:19CR30047-1


                                                            SCHEDULE OF PAYMENTS

Having assessed your ability to pay, payment ofthe total criminal monetary penalties is due as follows:

A        ■      Lump sum payment of           $100                  due immediately, balance due

               □      not later than                                    , or

               □      in accordance with        □      C,    □     D,      □       E, or    □    F below; or


B        □      Paymenttobeginimmediately (may be combined with                    DC,          □    D, or      □ F below); or

C        □      Payment in equal                        {e.g., weekly, monthly, quarterly) installments of S                    ,
                to commence                                               (e.g., 30 or 60 days) after the date of this Judgment; or

D        □      Payment in equal                        (e.g., weekly, monthly, quarterly) installments of $                    ,
                to commence                                               ("eg., 30 or 50       ^fter release fi"om imprisonment to a
                term of supervision; or

         Q Payment of the total restitution and other criminal monetary penalties shall be due in regular quarterly installments of 50% of
                the deposits in your inmate trust account while the you are in custody, or 10% of your inmate trust account while serving
                custody at a Residential Reentry Center. Any portion of the monetary obligation(s) not paid in full prior to your release from
                custody shall be due in monthly installments of $ , such payments to begin      days following your release.


 F       □      Special instructions regarding the payment of criminal monetary penalties:



Unless the Court has expressly ordered otherwise, if this Judgment imposes imprisonment, payment of criminal monetary penalties is due
during the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons'
Inmate Financial Responsibility Program, are made to the Clerk of the Court.

You shall receive credit for all payments previously made toward any criminal monetary penalties imposed.
□         Joint and Several

          Case Number
          Defendant and Co-Defendant Names                                             '                 Joint and Several          Corresponding Payee,
          (including defendant number),                                        Total Amount                  Amount                     if appropriate




□         You shall pay the cost of prosecution.

□         You shall pay the following Court cost(s):
□         You shall forfeit your interest in the following property to the United States:
Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) AVAA assessment, (5)
fine principal, (6) fine interest, (7) community restitution, (8) JVTA assessment, (9) penalties, and (10) costs, including cost of prosecution
and court costs.
